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From:               Enslin, Sharda
To:                 Kira Kelley
Cc:                 Karmen McQuitty; Robertson, Heather (she/her/hers); Sarff, Kristin; Claire Glenn
Subject:            RE: [EXTERNAL] Re: Settlement Proposal
Date:               Wednesday, November 27, 2024 7:33:00 AM


Hi Kira – turns out that while I’m available the week of Dec. 9, our deponent is not. However, both
he and I are available on Dec. 17th or 18th. Would either of those dates work for you? Technically
this falls a couple days outside of our discovery period, but given that the parties have been planning
on conducting this deposition for a while now, if we’re both in agreement and it’s the only date that
works for the witness, I think it’s fine.

From: Kira Kelley <kira@climatedefenseproject.org>
Sent: Tuesday, November 26, 2024 10:21 AM
To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
<Heather.Robertson@minneapolismn.gov>; Sarff, Kristin <Kristin.Sarff@minneapolismn.gov>; Claire
Glenn <claire@climatedefenseproject.org>
Subject: Re: [EXTERNAL] Re: Settlement Proposal

Hi Sharda,

I sent it to you on September 13, with the changes we'd discussed in our phone call. Let
me know if you can't find that thread and I will bump it in your inbox! I'll re-attach the
updated list here as well for your convenience.

The week of Dec 9th is pretty open for me, I'll confer with my cocounsel. Did you have
any specific days/times in mind?

Best,

Kira

____________________
Kira Kelley (they/she)
Staff Attorney  
Climate Defense Project
climatedefenseproject.org




On Mon, Nov 25, 2024 at 7:18 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov> wrote:

   Hi Kira, did you ever send me an updated list of topics? What is your availability the week of
   December 9th?


   From: Kira Kelley <kira@climatedefenseproject.org>
   Sent: Thursday, November 21, 2024 5:18 PM


                                                                                                             Exhibit I
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To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>; Karmen McQuitty
<karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
<Heather.Robertson@minneapolismn.gov>; Sarff, Kristin <Kristin.Sarff@minneapolismn.gov>;
Claire Glenn <claire@climatedefenseproject.org>
Subject: [EXTERNAL] Re: Settlement Proposal

Hi Sharda,

Just wanted to follow up on this, and to check in on when the City would be available
for a deposition.

Hope you are well!

Kira

____________________
Kira Kelley (they/she)
Staff Attorney
Climate Defense Project
climatedefenseproject.org




                                                                                   Exhibit I
